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                                                          U'S DISTRICT COURT
                                                             AUGUST'a • i\'.
                IN THE UNITED STATES DISTRICT COURT
                for the southern district of GEORGIA ^gigjULZG PH
                           AUGUSTA DIVISION

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UNITED STATES OF AMERICA            ic


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     V.
                                    ★


                                    ★
JOSEPH ELLICK




                               ORDER




     on February 11, 2002, a grand jury returned a seven-count
Indictment against Defendant Joseph Ellick and a co defenda
Tyrone Williams.      Ellick was charged in three counts of the
indictment - Counts 1, 4, and 7. Count 7 was later severed from
 the Indictment, and the Government submitted a redacted version of
 the indictment for trial purposes. Ellick proceeded to trial in
 September 2002 on Count 4 (Attempt to Possess with Intent to
 Distribute Cocaine) and Count 1 (Conspiracy to Possess with Intent
 to Distribute and Distribution of more than 50 Grams of Cocaine
 Base).

      At the close of evidence, Ellick moved for judgment of
 acquittal pursuant to Federal Rule of Criminal Procedure 29. The
 Court reserved decision on the motion and submitted the case to
 the jury. On September 23, 2002, Ellick was convicted on Count 4
 and acquitted on Count 1. On October 8, 2002, Ellick filed a
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"Renewed Motion for Judgment of Acquittal and Motion for New
Trial." While the matter was pending, the Court sentenced Ellick
to serve 57 months in prison on December 23, 2002.

    Subsequently, in a thirty-six page Order entered on May 7,
2003, the Court granted Ellick's Rule 29 motion and announced that
Ellick is "ACQUITTED of and HEREBY DISCHARGED on the charges
brought against him in this case under Counts 1 and 4 of the
Indictment." On May 8, 2003, the Court entered an Order dismissing
the severed Count 7 of the Indictment upon motion of the
Government.   The Clerk of Court entered the Orders of May 7th and
8th on the docket of the case on May 9, 2003, as docket number 165

and 166 respectively. The Clerk duly terminated Count 7 pursuant
to the dismissal order.      Count 1 had been previously terminated
through the acquittal.     Unfortunately, however, the Clerk failed
to execute the Order of May 7th and terminate Count 4 on the record.
Accordingly, as it stands today, the record of this case reflects
that Joseph Ellick was convicted on Count 4 of the Indictment^ and
sentenced to serve 57 months in prison.

     On July 25, 2019, this Court received a certified letter from
Ellick as well as a Motion to Clarify Docket.             Understandably,

Ellick asks that the Court instruct the Clerk of Court to properly




1 The docket lists Count 4 as a "pending count" with the disposition
of 57 months imprisonment.
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docket the Order of May 7, 2003 to reflect the termination of Count

4.


        Upon review of the motion and the record of this case, it is

lamentably clear that Ellick is correct.       The Clerk of Court failed

to execute the discharge of Count 4 in the record of this case.

Accordingly, his motion to clarify the record (doc. no. 182) is

GRANTED.    The Clerk of Court is directed to correct the record in


this case to show that Defendant Joseph Ellick was acquitted on

Count 4 pursuant to the Order of May 7, 2003.       The Clerk is further

directed to send a certified copy of this Order and an excerpt of

the corrected docket sheet to Ellick.


        ORDER ENTERED at Augusta, Georgia, this             day of July,

2019.




                                        UNITED ST/^ES DISTRICT JUDGE
